37 F.3d 1494NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Terence Lee HOUCHINS, Plaintiff Appellant,v.M. L. LOVE, JR., Defendant Appellee.
    No. 94-1575.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 8, 1994.Decided Oct. 24, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Florence.  William B. Traxler, Jr., District Judge.  (CA-94-290)
      Terence Lee Houchins, Appellant Pro Se.
      d.s.c.
      DISMISSED.
      Before MURNAGHAN, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).  The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    